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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                               Criminal No. 22-cr-00015-APM
      v.

ELMER STEWART RHODES, et al,

                    Defendant.



    MEMORNADUM OF LAW IN SUPPORT OF ELMER STEWART
   RHODE’S MOTION TO SEVER CASE FROM CODEFENDANTS OR,
           IN THE ALTERNATIVE, TO PLACE RHODES
              IN THE NOVEMBER 10 TRIAL GROUP

      NOW comes Defendant, ELMER STEWART RHODES III (“Rhodes”), by

and through undersigned counsel, and respectfully submits this Memorandum of

Law in support of his motion to the honorable Court for an order severing Rhodes’

case and trial from the trials of Rhodes’ nine codefendants. Rhodes requests a

stand-alone trial, due to the stark differences in fundamental facts as well as trial

preparation between himself and his codefendants (discussed below). But in the

alternative, Rhodes requests to be tried along with the November 10 trial group in

case 21-cr-28-APM.

      Counsel has informed the Assistant US Attorneys of this motion; and they

are opposed.

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      The November 10 trial group are, in every essence, codefendants in the same

case with Rhodes already. It should be remembered that this instant case-- number

22-cr-00015-APM—was a spin-off of 21-cr-28-APM and that these two case

numbers originated as the same case. These ‘two’ cases are sister cases, or even

the flipsides of each other. Moreover,

      1. These two scheduled trials both have common (and to a large extent, the

         same) legal claims, issues and questions.

      2. These two scheduled trials both have numerous common facts, common

         witnesses, common exhibits, and common evidence.

      3. These two scheduled trials will feature similar presentations of evidence

         by prosecutors.

      4. These two scheduled trials will feature common defense presentations by

         defendants.

      5. These two scheduled trials are presided over by the same judge, with

         support by the same magistrates and clerks. The Court has wide-ranging

         profound knowledge of the players, claims and evidence in both trials.

      6. These two sister cases even share some of the same motions, pretrial

         motion practice, and law of the case. Prior court orders have stated that

         motions and rulings from 22-cr-28-APM will carry over to 21-cr-00015-

         APM.


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Benefits of severing Defendant Rhodes from 21-cr-00015 and transferring
Rhodes to trial in 22-cr-28-APM, scheduled for trial on November 10:


      There are many benefits to the Court, the parties, and the public interest if

Defendant Rhodes is severed from codefendants in 21-cr-00015 and tried along

with codefendants in 22-cr-28-APM.

      1. First, Defendant Rhodes—who has only had 7 months to hurriedly find

         counsel, fruitlessly beg for pretrial release, initiate reading and watching

         of discovery, reach out from his jail cell for witnesses and evidence, and

         begin preparing his defense—will have a month and half of additional

         time to prepare.

      2. Defendant Rhodes has, in fact, been lodged in four different jail locations

         while awaiting trial, each with different obstacles and systems to navigate

         through for Rhodes to try to defend himself. Rhodes’ inconveniences

         and difficulties in defending himself while incarcerated place Rhodes at

         an extreme disadvantage compared to the prosecution; and Rhodes needs

         each additional day he can get to prepare for trial.

      3. Motion deadlines for the Nov 10 trial are fast approaching. Nonetheless

         the deadlines are different from the instant case, which will give Rhodes

         additional time to prepare and file necessary important motions (as

         described in Rhodes’ previous motion for substitution of counsel (#290)).


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        4. Rhodes needs additional time to acquire certain necessary exhibits,

           transcripts and evidence. The additional 45-or-so days will allow Rhodes

           to secure these necessary items and begin to prepare a defense.

        5. Rhodes’ new counsel, the undersigned Edward L. Tarpley, jr., will have

           additional time to acquaint himself with the case, the claims, the

           evidence, the witnesses, the issues and the arguments. This is vital and

           necessary for Rhodes’ defense.

        6. There is an ongoing massive mountain of discovery, including contents

           from 1,100 electronic devices that must be reviewed by Rhodes and his

           defense team. The additional 45-or-so days will give Rhodes time to

           begin to analyze and review such discovery.



        FURTHER BACKGROUND AND SUPPORTING LAW AND FACTS

   I.      Rhodes has had insufficient time, preparation, communication with
           lawyers, and discovery for trial beginning on September 26 in such a
           complicated case.

        At present, trial in this case is scheduled to begin on September 26, 2022—

just two weeks from today. Neither Rhodes nor any of his attorneys are prepared

for trial, and massive discovery drops from the government continue each week.

Moreover there are numerous necessary items of evidence and discovery, required

by Rhodes to defend himself at trial, which have thus far not been produced.


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      Rhodes’ Codefendants have had almost a year more than Rhodes with which

to prepare for trial. Rhodes submits that codefendants are themselves in danger of

being denied due process due to the government’s rush to trial without sufficient

discovery and witnesses. But Rhodes is even more prejudiced than his

codefendants. For reasons described in Rhodes’ Motion to substitute counsel and

continue trial (doc. #290), Rhodes will be at a severe disadvantage and will be

denied a fair trial if he is subjected to trial on the 26th without discovery of prior

testimony of important witnesses, Jan. 6 committee transcripts, etc.

      Additionally, Rhodes intends to call expert witnesses to the stand to assist

the Court and the jury understand the case. These expert witnesses have not yet

been enlisted and undersigned counsel is working on this project.

       Neither counsel for Rhodes nor Rhodes himself has been provided with up-

to-date discovery, as outlined in Doc. #290. Mr. Rhodes, unlike his codefendants,

was only arrested in mid-January of this year. While most of Rhodes’

codefendants were indicted almost a year earlier, and have had the better part of

two years to review discovery, consult with counsel, and prepare for trial, Rhodes

has had less than eight months. (In fact, Rhodes did not obtain significant

discovery until just a couple months ago. And Rhodes’ first weeks of incarceration

were dedicated to finding and introducing himself to counsel and seeking pretrial

release.)


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         While Rhodes’ codefendants in the D.C. jail have near-constant access to

discovery videos, Rhodes is incarcerated in a jail in Alexandria, Virginia where he

gets only two days per week to examine electronic discovery; by being transported

to the District Court to use computers. The discovery hard drive Rhodes is allowed

to use has not been updated in three months.

         The indictment against Rhodes is a complex set of allegations with

significant, national and even global geo-political implications. The government is

actually alleging that Rhodes participated in a plot to overthrow existing

government or to unlawfully thwart the transfer of presidential power. Rhodes has

simply not been provided with sufficient time, evidence, and communication with

counsel in order to defend himself.

   II.      RHODES’ FACTS ARE FUNDAMENTALLY DIFFERENT FROM
            CODEFENDANTS.


         Although Rhodes and codefendants are charged with some of the same legal

allegations, the facts supporting those allegations are of a fundamentally different

nature. Thus, Rhodes’ alleged role in the same alleged events will require an

entirely different presentation of evidence. The government’s allegations against

Rhodes arise out of unique sets of facts and circumstances, involving completely

different types of actions, proceedings or personal exchanges, and legal arguments.




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      The burden on Rhodes, his codefendants, the Court, and the prosecution far

outweighs any practical benefit that might accrue from considering the cases of all

nine defendants at the same trial.

      The indictment improperly joins Rhodes with his co-defendants under Rule

8 of the Federal Rules of Criminal Procedure because (1) the government fails to

allege that Rhodes participated in the same act or transactions as his co-defendants,

and (2) very little evidence against Rhode’s co-defendants is mutually admissible

against him.

      A. The majority of Rhodes’ codefendants are accused of entering and
         committing crimes inside the Capitol, while the government’s
         allegations against Rhodes do not involve any similar allegations.


      Rule 8(b) of the Federal Rules of Criminal Procedure states that “[t]he

indictment or information may charge 2 or more defendants if they are alleged to

have participated in the same act or transaction, or in the same series of acts or

transactions, constituting an offense or offenses.” “A ‘series of acts or transactions’

is ‘two or more acts or transactions connected together or constituting parts of a

common scheme or plan.’” United States v. Bostick, 791 F.3d 127, 145 (D.C. Cir.

2015) (quoting United States v. Moore, 651 F.3d 30, 69, 397 U.S. App. D.C. 148

(D.C. Cir. 2011)).

      In Rhodes’ case there are two separate and distinct set of defenses which

differentiate Rhodes’ defense from that of his codefendants. Rhodes’ defense is
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that his statements, proclamations and advocacy aimed at getting President Trump

to invoke the federal insurrection act and command extraordinary federal efforts to

take custody of questionable voting machines in Michigan, Pennsylvania, Georgia

and elsewhere and authorize a full and complete investigation of voting

irregularities in those places. On Jan. 6, Rhodes did not enter or advocate for

Oathkeepers to breach or initiate any forcible takeover of the U.S. Capitol. Rhodes’

focus on January 6, 2021 was on four permitted rallies and events outside the

Capitol.

      B. Allegations against Rhodes are fewer than one-third of the counts in
         the indictment.

      By contrast, the majority of Rhodes’ codefendants are accused of actually

going inside the Capitol on Jan. 6. Practically speaking, this requires an entirely

different presentation of facts and evidence for the codefendants. Of the 17 counts

listed in the indictment of Jan. 12, 2022, Rhodes is accused in only five (5). Thus

Rhodes is accused in less than one-third of the allegations.

      The Jury will be Unable to Compartmentalize the Evidence as it Relates to

Mr. Rhodes.

   III.     Rhodes will be denied a fair trial if subjected to trial with
            codefendants on Sept. 26.


          While it is "difficult to prevail on a claim that there has been misjoinder

under Rule 8(b), there are definite limits to what the government can put together
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in a single indictment." United States v. Nicely, 922 F.2d 850, 853 (D.C. Cir.

1991). Even when joinder of defendants and offenses is otherwise proper under

Rule 8(b), Federal Rule of Criminal Procedure 14(a) permits a court to sever

defendants or counts, or "provide any other relief that justice requires," if the

joinder "appears to prejudice a defendant or the government." Fed. R. Crim. P.

14(a). The Supreme Court has instructed that "when defendants properly have been

joined under Rule 8(b), a district court should grant a severance under Rule 14 only

if there is a serious risk that a joint trial would compromise a specific trial right of

one of the defendants, or prevent the jury from making a reliable judgment about

guilt or innocence." Zafiro v. United States, 506 U.S. 534, 539 (1993). The Court

suggested that such risk is "heightened" when, for example, "many defendants are

tried together in a complex case and they have markedly different degrees of

culpability" or evidence "that would not be admissible if a defendant were tried

alone is admitted against a codefendant."

      In this case, a joint trial on September 26 would compromise a specific trial

right of Rhodes, which is Rhodes’ right to a fair trial with a fair ability to present a

defense. As outlined in Document #290, Rhodes has simply not been provided

with the discovery, witnesses and evidence he needs to defend himself. Trial of

Rhodes on such an extremely quick timeline will violate Rhodes’ fundamental

rights to due process and a fair trial.


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   IV.   The government’s recent moves have fundamentally altered Rhodes’
         previously planned defense


   Two months ago, federal prosecutors indicted a group of friends and family

members of the Oathkeeper defendants in this case. See United States v. Crowl, et

al., Case # 2 1-cr-28-APM (filed June 22, 2022) (8 defendants, including family

members of Oathkeeper defendants). Rhodes had planned to call several of these

new defendants as his defense witnesses. Then, last week, on August 30, 2022,

prosecutors indicted Oathkeeper general counsel (and Rhode’s former girlfriend)

Kellye Sorelle on charges relating to Jan. 6.

   These additional indictments effectively remove these important, key, defense

witnesses from being able to provide material testimony in defense of Rhodes at

Rhodes’ trial. The arrests of Sorelle, Michael Green, and others increases the

likelihood that they will plead the 5th amendment and be unavailable if summoned

as witnesses—which highlights the necessity of Rhodes having access to these

witnesses’ testimony transcripts and videos before the January 6 Committee.

   Additionally, the arrests of Green and Sorelle effectively removes Green’s and

Sorelle’s cell phones from being available to Rhodes for use at trial. Their cell

phones contain exculpatory images and texts from before and after January 6

which are necessary for Rhodes’ defense.




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   Until these arrests, these witnesses were primary and key witnesses for Rhodes

and other defendants in this case. The arrest of Sorelle represents a monumental

change in how Rhodes expected to defend himself at trial. Cf, United States v.

Torres-Rodriguez, 930 F.2d 1375 (9th Cir. 1991) (reversing conviction where

defendant was prejudiced by the denial of a continuance which deprived her of an

opportunity to prepare to respond to new developments). Sorelle, in fact, was one

of the closest people to Rhodes during Rhodes’ planning and participation in

events on Jan. 6, and Sorelle would have been a key witness through whom

Rhodes would have informed the jury of Rhodes’ demeanor, state of mind, and

intentions.

   The removal and alteration of Rhodes’ trial strategy and defense agenda

fundamentally upsets Rhodes’ ability to prepare and defend himself at trial. See

Armant v. Marquez, 772 F.2d 552 (9th Cir. 1985) (finding prejudice where denial

of continuance effectively denied defendant the opportunity to prepare his

defense).


   V.       CONCLUSION


        For the reasons stated here, Defendant Elmer Stewart Rhodes prays for this

Court to issue an order severing his case from codefendants scheduled to begin

trial on September 26.


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Dated: September 12, 2022


                                    Respectfully Submitted,

                                    /s/ Edward L. Tarpley Jr.
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                         CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 12, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the
following CM/ECF participants. From my review of the PACER account for this
case the following attorneys are enrolled to receive notice and a copy through the
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